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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )          4:03CR3050
                                              )
                     Plaintiff,               )
                                              )
       vs.                                    )
                                              )          ORDER
JESUS G. OLIVAS,                              )
                                              )
                     Defendant.               )

       IT IS ORDERED that:

       (1)    The government’s request for hearing is granted;

      (2)     A hearing on the government’s motion for reduction of sentence pursuant to
Rule 35(b) (filing 83) has been set before the undersigned United States district judge on
Tuesday, December 19, 2006, at 1:30 p.m., in Courtroom No. 1, United States Courthouse
and Federal Building, 100 Centennial Mall North, Lincoln, Nebraska.

       (3)     At the request of the defendant through his counsel, the defendant will
participate in the hearing by telephone.

       (4)    The Marshal is directed not to return the defendant to the district.

       (5)    The defendant is held to have waived his right to be present.

        (6)    Counsel for the defendant, if previously appointed pursuant to the Criminal
Justice Act, is reappointed to represent the defendant for purposes of the Rule 35(b) motion.
If retained, counsel for the defendant remains as counsel for the defendant until the Rule
35(b) motion is resolved or until given leave to withdraw.

       (7)    The Federal Public Defender shall provide CJA counsel with a new voucher.
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       (8)    The Clerk of the Court shall provide a copy of this order to counsel for the
government and counsel for the defendant. The undersigned’s judicial assistant will provide
a copy to the Federal Public Defender.

       December 13, 2006.                 BY THE COURT:

                                          s/ Richard G. Kopf
                                          United States District Judge




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